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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.: 17-cv-23158-MARTINEZ-OTAZO REYES

  LAWSHAWN MIDDLETON,

         Plaintiff,

  vs.

  CARNIVAL CORPORATION

        Defendant.
  ___________________________________/

                            DEFENDANT’S REPLY IN SUPPORT OF
                            MOTION FOR SUMMARY JUDGMENT

         The Defendant, CARNIVAL CORPORATION d/b/a CARNIVAL CRUISE LINE,

  pursuant to Rule 56.1 of the Local Rules governing the Southern District of Florida and Rule 56

  of the Federal Rules of Civil Procedure, hereby files this Reply in support of its Motion for

  Summary Judgment, and states as follows:

         Plaintiff argues she should not be penalized for telling the truth that she cannot remember

  which step she was on at the time of her fall. However, Plaintiff misunderstands the burden in

  opposing summary judgment.

         Under the general maritime law, courts rely on "general principles of negligence law,"

  and require the Plaintiff make out the familiar four elements of negligence. Chaparro v. Carnival

  Corp., 693 F.3d 1333, 1336 (11th Cir. 2012). A plaintiff in a negligence action shoulders the

  burden of proving each of the following: (1) the defendant owed the plaintiff a duty; (2) the

  defendant breached that duty; (3) the defendant’s breach was the proximate cause of the

  plaintiff’s injuries; and (4) the plaintiff suffered damages. Wiener v. Carnival Corp., 2012 U.S.

  Dist. LEXIS 151395, at *6, Case No. 11-22516 (S.D. Fla. Oct. 22, 2012) (emphasis added).

  Failure to establish any one of these elements is fatal to the Plaintiff's case. Hasenfus v. Secord,
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  962 F.2d 1556, 1560 (11th Cir. 1992) (citing Gooding v. University Hospital Bldg., Inc., 445

  So.2d 1015, 1018 (Fla.1984)). A failure of proof concerning any essential element of the

  nonmoving party's case necessarily renders all other facts immaterial. Celotex Corp., 477 U.S. at

  323.

         Here, Plaintiff cannot meet her burden in establishing that a defect with the stair on which

  she was standing was the proximate cause of her injury. Thus, Ms. Middleton cannot establish an

  essential element of her claim and entry of summary judgment in favor of Defendant is

  appropriate.

         Plaintiff attempts to have the court infer that the accident happened because some of the

  stairs purportedly had loose metal nosings. However, Plaintiff cannot state whether the step she

  was on at the time of her fall had a loose metal nosing. Negligence should not be inferred from

  the "mere happening of an accident alone.” Wish v. MSC Crociere S.A., No. 07-60980, 2008 U.S.

  Dist. LEXIS 109072 (S.D. Fla. Nov. 24, 2008) (citing Belden v. Lynch, 126 So. 2d 578, 581 (Fla.

  Dist. Ct. App. 1961)). An injured passenger must show the alleged negligence was an actual and

  proximate cause of the plaintiff’s injury. Sorrels v. NCL (Bahamas) Ltd., 796 F.3d 1275, 1280

  (11th Cir. 2015). When the evidence presented does not create a material issue of fact as to

  causation, which is an essential element of the tort of negligence, summary judgment is

  appropriate. Fedorczyk v. Caribbean Cruise Lines, Ltd., 82 F.3d 69, 74 (3d Cir. 1996) (affirming

  lower court’s grant of cruise line’s motion for summary judgment).

         This Court has previously concluded that where the nonmoving party is unable to offer

  any evidence to satisfy the proximate cause element of their negligence claim, those claims must

  fail. Lipkin v. Norwegian Cruise Line Ltd., 93 F. Supp. 3d 1311, 1325 (S.D. Fla. 2015). In

  Lipkin, the plaintiff brought a negligence action against a cruise line for injuries sustained while

  disembarking from a cruise ship. Lipkin, 93 F. Supp. 3d at 1311. The court held that summary
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  judgment must be granted in favor of the cruise line because the plaintiff had failed to establish

  that the defendant’s negligence was the proximate cause of his injuries. Id. at 1325. Analogous to

  the present case, Lipkin cited no record evidence to show that a genuine issue of material fact

  existed as to proximate cause. Id. at 1325

         In a case analogous to the instant matter, Fedorczyk, a plaintiff slipped in the bathtub in

  her stateroom while aboard a cruise ship. Fedorczyk, 82 F.3d at 69. Fedorczyk alleged that the

  cruise line’s failure to provide an adequate number of abrasive strips in the bathtub was the

  proximate cause of her injuries. Id. at 72. However, plaintiff testified she had no recollection of

  whether her feet were on the tubs existing abrasive strips at the time of her fall. Id. at 72.

         The Third Circuit Court of Appeals noted that even if there was negligence on the part of

  the cruise line for having an insufficient number of adhesive strips in the tub, as testified to by

  the plaintiff’s expert, Fedorczyk was unable to prove that any such negligence of the cruise line

  in fact caused her injury. Id. At 74. Because Ms. Fedorczyk could not testify whether she was

  standing on one of the adhesive strips that were present, she could not rule out the possibility her

  fall was caused by other another cause such as the presence of soap and bath oil. Id.

         The Third Circuit Court of Appeals affirmed the district court’s grant of summary

  judgment in favor of a cruise line, holding that the plaintiff did not introduce evidence which

  provided a reasonable basis for the conclusion that it was more likely than not that the alleged

  negligent conduct of the defendant was a cause in fact of the injury. Id. at 74. The court held,

  causation is an essential element of a negligence claim stating, "the mere showing of an accident

  causing injuries is not sufficient from which to infer negligence," and noted that Fedorczyk could

  have fallen in the bathtub for reasons other than Royal Caribbean's negligence Id. (citing Hansen

  v. Eagle-Picher Lead Co., 84 A.2d 281, 284 (N.J. 1951)).
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         Just as in Fedorczyk, Plaintiff in this case cannot state whether she was standing on a step

  with a loose metal nosing. As such, she cannot introduce evidence which would provide a

  reasonable basis that it is more likely than not that the alleged negligent conduct of Defendant

  was a cause in fact of Plaintiff’s injury. Therefore, Plaintiff cannot prevail on her negligence

  claim because she cannot proffer any evidence of the proximate cause of her injuries.

         Plaintiff next argues that Defendant’s negligence was due to having passengers wait on

  the staircase prior to dinner. However, Plaintiff has not plead that anything other than the

  presence of the purported loose metal nosings were the cause of her fall. See ECF 1, ¶14.

         Thus, Plaintiff cannot now add new theories of liability solely to avoid summary

  judgment. Lopez v. City of W. Miami, 2015 U.S. Dist. LEXIS 190332 at *5 (S.D. Fla. 2015);

  Royal Ins. Co. of Am. v. Southwest Marine, 194 F.3d 1009, 1016-17 (9th Cir. 1999); Lee v. Regal

  Cruises, 916 F. Supp. 300, 303 (S.D.N.Y 1996).

         WHEREFORE, Defendant, CARNIVAL CORPORATION d/b/a CARNIVAL CRUISE

  LINES, respectfully moves this Honorable Court for entry of Summary Judgment in its favor.


  Dated: October 30, 2018.                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that on October 30, 2018, we electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. We also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

  who are not authorized to receive electronic Notices of Electronic Filing.



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